Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 1 of 146




                      EXHIBIT 3
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 2 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 3 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 4 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 5 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 6 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 7 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 8 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 9 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 10 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 11 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 12 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 13 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 14 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 15 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 16 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 17 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 18 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 19 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 20 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 21 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 22 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 23 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 24 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 25 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 26 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 27 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 28 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 29 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 30 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 31 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 32 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 33 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 34 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 35 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 36 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 37 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 38 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 39 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 40 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 41 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 42 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 43 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 44 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 45 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 46 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 47 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 48 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 49 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 50 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 51 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 52 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 53 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 54 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 55 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 56 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 57 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 58 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 59 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 60 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 61 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 62 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 63 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 64 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 65 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 66 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 67 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 68 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 69 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 70 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 71 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 72 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 73 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 74 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 75 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 76 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 77 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 78 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 79 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 80 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 81 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 82 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 83 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 84 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 85 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 86 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 87 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 88 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 89 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 90 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 91 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 92 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 93 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 94 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 95 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 96 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 97 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 98 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 99 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 100 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 101 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 102 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 103 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 104 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 105 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 106 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 107 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 108 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 109 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 110 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 111 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 112 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 113 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 114 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 115 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 116 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 117 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 118 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 119 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 120 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 121 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 122 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 123 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 124 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 125 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 126 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 127 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 128 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 129 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 130 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 131 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 132 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 133 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 134 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 135 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 136 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 137 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 138 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 139 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 140 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 141 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 142 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 143 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 144 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 145 of 146
Case 1:16-cv-01096-KBJ Document 32-5 Filed 10/27/17 Page 146 of 146
